                               Exhibit 4




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    efile GRAPHIC print                      Submission Date - 2022-11-14                                                                                                                                                                                                 DLN: 93493318170982
                                                                                                                                                                                                                                                                                      OMB No. 1545-0047
                                  Return of Organization Exempt From Income Tax
       990
                                                                                                                                                                                                                                                                                      2021
Form
                                Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)
                                                  Do not enter social security numbers on this form as it may be made public.
                                                                                                                                                                                                                                                                                      Open to Public
                                Go to www.irs.gov/Form990 for instructions and the latest information.
Department of the                                                                                                                                                                                                                                                                      Inspection
Treasury
Internal Revenue
A   For the 2021 calendar year, or tax year beginning 01-01-2021 , and ending 12-31-2021
Service
B Check if applicable:         C Name of organization                                                                                                                                                                                                    D Employer identification number
                                 DIGITAL MEDIA ASSOCIATION
     Address change                                                                                                                                                                                                                                                       0927
     Name change
                                Doing business as
     Initial return
     Final return/terminated
                                Number and street (or P.O. box if mail is not delivered to street address)                                                                      Room/suite                                                               E Telephone number
      Amended return            529 14TH ST NW 1085
      Application                                                                                                                                                                                                                                            (202) 792-5464
    pending
                                City or town, state or province, country, and ZIP or foreign postal code
                                WASHINGTON, DC 20045
                                                                                                                                                                                                                                                             G Gross receipts $ 2,125,753

                               F Name and address of principal officer:                                                                                                                                         H(a) Is this a group return for
                               GARRETT LEVIN
                               529 14TH ST NW 1085                                                                                                                                                                   subordinates?                        Yes                                         No
                               WASHINGTON, DC 20045                                                                                                                                                             H(b) Are all subordinates
                                                                                                                                                                                                                     included?                             Yes                                        No
I    Tax-exempt status:
                                  501(c)(3)         501(c) ( 6 )            (insert no.)                        4947(a)(1) or                                               527                                      If "No," attach a list. See instructions.
J    Website:           WWW.DIMA.ORG                                                                                                                                                                            H(c) Group exemption number


                                                                                                                                                                                                            L Year of formation: 1998                                      M State of legal domicile: DC
K Form of organization:            Corporation      Trust           Association                     Other


     Part I           Summary
           1 Briefly describe the organization’s mission or most significant activities:
             TO PROMOTE THE COMMON BUSINESS INTERESTS (INCLUDING BUT NOT LIMITED TO LEGAL AND PUBLIC POLICY INTERESTS) OF ITS
             MEMBERS IN THE NEW MEDIA/INTERNET MEDIA INDUSTRIES.




           2 Check this box     if the organization discontinued its operations or disposed of more than 25% of its net assets.
           3 Number of voting members of the governing body (Part VI, line 1a) .      .  .   .   .   .   .  .                   3                                                                                                                                                                          5
           4 Number of independent voting members of the governing body (Part VI, line 1b)                                                                                                          .           .           .           .            .                           4                         5
           5 Total number of individuals employed in calendar year 2021 (Part V, line 2a)                                                                                               .           .           .           .           .            .                           5                         5
           6 Total number of volunteers (estimate if necessary)                                     .       .           .           .           .               .               .           .           .           .           .            .           .                       6                         0
         7a Total unrelated business revenue from Part VIII, column (C), line 12                                                                    .               .               .           .           .           .           .            .                               7a                        0
                Net unrelated business taxable income from Form 990-T, Part I, line 11                                                                          .               .           .           .           .           .            .           .      .                7b                        0
         b
                                                                                                                                                                                                                                        Prior Year                                     Current Year
           8 Contributions and grants (Part VIII, line 1h)                          .       .           .       .           .           .           .               .               .                                                                         1,636,020                          2,125,000
           9 Program service revenue (Part VIII, line 2g)                           .       .           .       .           .           .           .               .               .                                                                                       0                              0
         10 Investment income (Part VIII, column (A), lines 3, 4, and 7d )                                                      .           .               .               .                                                                                             141                          753
         11 Other revenue (Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and 11e)                                                                                                                                                                                        0                              0
         12 Total revenue—add lines 8 through 11 (must equal Part VIII, column (A), line 12)                                                                                                                                                                  1,636,161                          2,125,753

         13 Grants and similar amounts paid (Part IX, column (A), lines 1 3 ) .                                                                         .               .                                                                                                   0                              0
         14 Benefits paid to or for members (Part IX, column (A), line 4) .                                                             .           .               .               .                                                                                       0                              0
         15 Salaries, other compensation, employee benefits (Part IX, column (A), lines 5 10)                                                                                                                                                                      968,496                       1,015,888
         16a Professional fundraising fees (Part IX, column (A), line 11e)                                                  .           .           .               .               .                                                                                       0                              0
             b Total fundraising expenses (Part IX, column (D), line 25)                        0

         17 Other expenses (Part IX, column (A), lines 11a–11d, 11f–24e) .                                                                  .           .               .                                                                                          716,927                        610,798
         18 Total e penses. Add lines 13 17 (must equal Part IX, column (A), line 25)                                                                                                                                                                         1,685,423                          1,626,686
         19 Revenue less expenses. Subtract line 18 from line 12 .                                                  .           .           .           .               .               .                                                                           -49,262                       499,067
                                                                                                                                                                                                                    Beginning of Current Year                                           End of Year


         20 Total assets (Part X, line 16) .                .       .       .       .       .           .       .           .           .           .               .               .                                                                              603,889                       1,102,749
         21 Total liabilities (Part X, line 26) .               .       .       .       .       .           .           .           .           .               .               .           .                                                                        5,825                            5,618
         22 Net assets or fund balances. Subtract line 21 from line 20 .                                                        .           .               .               .                                                                                      598,064                       1,097,131
     Part II          Signature Block
Under penalties of perjury, I declare that I have e amined this return, including accompanying schedules and statements, and to the best of my
knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than officer) is based on all information of which preparer has
any knowledge.

                                                                                                                                                                                                                                        2022 11 14
                      Signature of officer                                                                                                                                                                                              Date
Sign
Here                  GARRETT LEVIN PRESIDENT AND CEO
                      Type or print name and title

                           Print/Type preparer's name                               Preparer's signature                                                                                            Date                                                                  PTIN
                                                                                                                                                                                                    2022 11 14                          Check       if                    P00357837
Paid                                                                                                                                                                                                                                    self employed
                           Firm's name         LOBEL COOPER & ASSOCIATES PC                                                                                                                                                                 Firm's EIN               XX-XXXXXXX
Preparer
Use Only                   Firm's address      6309 EXECUTIVE BLVD                                                                                                                                                                          Phone no. (301) 637-7080

                                               NORTH BETHESDA, MD 20852
          Case 3:19-cv-00736                            Document 472-6                                                      Filed 01/23/24                                                                          Page 2 of 24 PageID #: 40266
May the IRS discuss this return with the preparer shown above? (see instructions)                                                                               .               .           .           .           .           .            .           .     .      .           Yes       No
For Paperwork Reduction Act Notice, see the separate instructions.                                                                                                                                                          Cat. No. 11282Y                                              Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                              Page 2
    Part III      Statement of Program Service Accomplishments
                Check if Schedule O contains a response or note to any line in this Part III .                                                           .       .       .       .       .       .       .       .   .   .   .     .    .
1       Briefly describe the organization’s mission:
TO ADVOCATE FOR BUSINESS AND REGULATORY ENVIRONMENT THAT SUPPORTS GOVERNMENT POLICIES THAT PROMOTE FAIR COMPETITION, FAIR
ROYALTIES, INNOVATION AND CONSUMER WELFARE.




2       Did the organization undertake any significant program services during the year which were not listed on
        the prior Form 990 or 990-EZ?        .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .               Yes            No
        If "Yes," describe these new services on Schedule O.
3       Did the organization cease conducting, or make significant changes in how it conducts, any program
        services?   .   .   .   .    .   .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .       .                Yes        No
        If "Yes," describe these changes on Schedule O.
4       Describe the organization’s program service accomplishments for each of its three largest program services, as measured by e penses.
        Section 501(c)(3) and 501(c)(4) organizations are required to report the amount of grants and allocations to others, the total expenses,
        and revenue, if any, for each program service reported.

4a       (Code:                     ) (Expenses $                                                    including grants of $                                                       ) (Revenue $                                      )
         SERVES ITS MEMBERS BY SUPPORTING, THROUGH PUBLIC EDUCATION, LEGAL, AND LEGISLATIVE SUPPORT, A HEALTHY LEGAL AND BUSINESS ENVIRONMENT FOR THE
         DEVELOPMENT OF DIGITAL MUSIC PROVIDERS, PARTICULARLY BUSINESSES IN INTERNET-BASED TRANSMISSION, PERFORMANCE, RETAIL, AND MARKETING SERVICES.


4b       (Code:                     ) (Expenses $                                                    including grants of $                                                       ) (Revenue $                                      )
         ACCOMPLISHMENTS INCLUDE PARTICIPATION IN SIGNIFICANT LEGAL, LEGISLATIVE AND REGULATORY DEVELOPMENTS, AS WELL AS DEVELOPMENT OF INDUSTRY-WIDE
         BUSINESS PRACTICES ORIENTED ACTIVITIES, E.G., MUSIC LICENSING.



4c       (Code:                     ) (Expenses $                                                    including grants of $                                                       ) (Revenue $                                      )




4d       Other program services (Describe in Schedule O.)
         Case 3:19-cv-00736
         (Expenses $                             Document      472-6
                                                   including grants of $                                         Filed 01/23/24) (Revenue
                                                                                                                                     Page $ 3 of 24 PageID )#: 40267
4e       Total program service expenses
                                                                                                                                                                                                                                 Form 990 (2021)
Form 990 (2021)                                                                                                                                               Page 3
 Part IV     Checklist of Required Schedules
                                                                                                                                                       Yes    No
  1   Is the organization described in section 501(c)(3) or 4947(a)(1) (other than a private foundation)? If "Yes," complete                                  No
      Schedule A .      .   .   .   .   .    .  .   .    .   .  .   .    .  .    .   .   .   .   .   .                                           1

  2   Is the organization required to complete Schedule B, Schedule of Contributors? See instructions.              .       .       .            2            No
  3   Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to candidates                             No
      for public office? If "Yes," complete Schedule C, Part I .    .  .   .    .   .   .   .    .   .    .  .    .                              3

  4   Section 501(c)(3) organizations. Did the organization engage in lobbying activities, or have a section 501(h)
      election in effect during the tax year? If "Yes," complete Schedule C, Part II . . .   .   .  .   .    .  .                                4

  5   Is the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization that receives membership dues,
      assessments, or similar amounts as defined in Rev. Proc. 98-19? If "Yes," complete Schedule C, Part III . .
                                                                                                                                                 5     Yes

  6   Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the right
      to provide advice on the distribution or investment of amounts in such funds or accounts? If "Yes," complete
      Schedule D,Part I .   .   .    .   .   .    .  .  .    .  .  .    .   .   .   .   .  .   .     .   .  .   .  .  .                                       No
                                                                                                                                                 6
  7   Did the organization receive or hold a conservation easement, including easements to preserve open space,
      the environment, historic land areas, or historic structures? If "Yes," complete Schedule D, Part II . . .                            .    7            No

  8   Did the organization maintain collections of works of art, historical treasures, or other similar assets? If "Yes,"                        8            No
      complete Schedule D, Part III .     .   .   .   .   .    .    .   .    .   .  .    .   .

  9   Did the organization report an amount in Part X, line 21 for escrow or custodial account liability; serve as a custodian for
      amounts not listed in Part X; or provide credit counseling, debt management, credit repair, or debt negotiation services?
       If "Yes," complete Schedule D, Part IV .      .   .  .    .   .  .   .   .   .    .  .    .    .                                          9            No

10    Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments,                       10            No
      permanent endowments, or quasi endowments? If "Yes," complete Schedule D, Part V .             .    .   .  .  .

11    If the organization’s answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII, VIII, IX, or
      X, as applicable.
  a Did the organization report an amount for land, buildings, and equipment in Part X, line 10? If "Yes," complete
    Schedule D, Part VI.   .   .   .  .   .    .   .   .   .    .  .   .  .   .   .   .    .   .    .                                           11a    Yes

  b Did the organization report an amount for investments other securities in Part X, line 12 that is 5% or more of its total
    assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VII . .    .   .   .    .   .                                       11b           No

  c   Did the organization report an amount for investments program related in Part X, line 13 that is 5% or more of its total
      assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VIII . .  .   .   .    .   .                                      11c           No

  d Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total assets reported in
    Part X, line 16? If "Yes," complete Schedule D, Part IX .   .   .    .   .   .    .   .  .   .    .    .                     11d                          No

  e Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X
                                                                                                                                                11e           No
  f   Did the organization’s separate or consolidated financial statements for the ta year include a footnote that addresses
      the organization’s liability for uncertain tax positions under FIN 48 (ASC 740)? If "Yes," complete Schedule D, Part X                    11f           No
12a Did the organization obtain separate, independent audited financial statements for the tax year? If "Yes," complete
    Schedule D, Parts XI and XII .    .   .   .  .   .  .    .   .   .    .  .  .    .   .   .   .    .   .    .  .   .                         12a           No
  b Was the organization included in consolidated, independent audited financial statements for the ta year?
                                                                                                                                                12b           No
    If "Yes," and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional
13    Is the organization a school described in section 170(b)(1)(A)(ii)? If "Yes," complete Schedule E
                                                                                                                                                13            No
14a Did the organization maintain an office, employees, or agents outside of the United States?         .       .       .       .       .       14a           No
  b Did the organization have aggregate revenues or e penses of more than $10,000 from grantmaking, fundraising,
    business, investment, and program service activities outside the United States, or aggregate foreign investments valued
    at $100,000 or more? If "Yes," complete Schedule F, Parts I and IV .   .   .   .   .   .  .    .   .                    14b                               No

15    Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or for any
      foreign organization? If “Yes,” complete Schedule F, Parts II and IV .  .   .   .   .                                                     15            No

16    Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other assistance to
      or for foreign individuals? If “Yes,” complete Schedule F, Parts III and IV . .  .                                                        16            No

17    Did the organization report a total of more than $15,000 of expenses for professional fundraising services on Part IX,                    17            No
      column (A), lines 6 and 11e? If "Yes," complete Schedule G, Part I. See instructions. .   .   .   .
18    Did the organization report more than $15,000 total of fundraising event gross income and contributions on Part VIII,
      lines 1c and 8a? If "Yes," complete Schedule G, Part II .  .   .   .   .   .   .   .  .   .  .    .                                       18            No
19    Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a? If "Yes,"
      complete Schedule G, Part III .    .  .   .  .    .   .   .  .   .  .   .  .    .    .   .   .    .    .                                  19            No

20a Did the organization operate one or more hospital facilities? If "Yes," complete Schedule H .           .       .       .                   20a           No
  b If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return?
                                                                                                                                                20b
21    Case 3:19-cv-00736                   Document 472-6                  Filed 01/23/24              Page 4 of 24 PageID21#: 40268No
      Did the organization report more than $5,000 of grants or other assistance to any domestic organization or domestic
      government on Part IX, column (A), line 1? If “Yes,” complete Schedule I, Parts I and II . .  .   .   .
                                                                                                                                                      Form 990 (2021)
Form 990 (2021)                                                                                                                                                      Page 4
 Part IV     Checklist of Required Schedules (continued)
                                                                                                                                                               Yes   No
22    Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on Part IX,                          22
      column (A), line 2? If “Yes,” complete Schedule I, Parts I and III . .  .   .   .    .  .   .                                                                  No

23    Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5, about compensation of the organization’s current
      and former officers, directors, trustees, key employees, and highest compensated employees? If "Yes," complete                                 23        Yes
      Schedule J .    .   .    .   .    .   .   .   .  .   .   .    .   .    .    .  .   .  .  .   .    .   .
24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000 as of
    the last day of the year, that was issued after December 31, 2002? If “Yes,” answer lines 24b through 24d and complete
    Schedule K. If “No,” go to line 25a .    .   .   .  .  .   .   .   .    .   .   .  .    .   .                                                                    No
                                                                                                                           24a

  b Did the organization invest any proceeds of ta e empt bonds beyond a temporary period e ception? .                       .       .               24b

  c   Did the organization maintain an escrow account other than a refunding escrow at any time during the year
      to defease any ta e empt bonds? .       .  .   .   .   .   .   .   .   .   .  .   .    .  .                                                    24c
  d Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year? .                    .       .           24d
25a Section 501(c)(3), 501(c)(4), and 501(c)(29) organizations. Did the organization engage in an e cess benefit
    transaction with a disqualified person during the year? If "Yes," complete Schedule L, Part I . . . .                                            25a

  b Is the organization aware that it engaged in an e cess benefit transaction with a disqualified person in a prior year, and
    that the transaction has not been reported on any of the organization’s prior Forms 990 or 990-EZ? If "Yes," complete                            25b
    Schedule L, Part I .   .   .    .   .  .    .   .  .   .   .    .   .   .  .    .   .  .     .  .   .    .   .
26    Did the organization report any amount on Part X, line 5 or 22 for receivables from or payables to any current or former
      officer, director, trustee, key employee, creator or founder, substantial contributor, or 35% controlled entity or family                      26              No
      member of any of these persons? If "Yes," complete Schedule L, Part II .        .   .   .   .   .   .   .   .    .   .
27    Did the organization provide a grant or other assistance to any current or former officer, director, trustee, key employee,
      creator or founder, substantial contributor, or employee thereof, a grant selection committee member, or to a 35%                              27              No
      controlled entity (including an employee thereof) or family member of any of these persons? If "Yes," complete
      Schedule L,Part III .    .   .   .   .   .   .   .   .  .   .   .    .  .    .   .   .   .    .   .    .   .   .   .  .

28    Was the organization a party to a business transaction with one of the following parties (see the Schedule L, Part IV
      instructions for applicable filing thresholds, conditions, and exceptions):
  a A current or former officer, director, trustee, key employee, creator or founder, or substantial contributor? If "Yes,"
    complete Schedule L, Part IV .       .    .  .    .  .   .  .    .  .    .   .   .   .   .   .    .   .   .   .    .    .
                                                                                                                                                     28a             No
  b A family member of any individual described in line 28a? If "Yes," complete Schedule L, Part IV .            .       .       .       .
                                                                                                                                                     28b             No
  c   A 35% controlled entity of one or more individuals and/or organizations described in line 28a or 28b? If "Yes," complete
      Schedule L, Part IV .    .   .   .  .    .   .  .    .  .    .   .   .   .  .   .    .   .   .   .   .                                         28c             No

29    Did the organization receive more than $25,000 in non-cash contributions? If "Yes," complete Schedule M .                      .               29              No
30    Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified conservation
      contributions? If "Yes," complete Schedule M .       .   .    .   .   .   .   .   .    .   .   .   .   .     .  .   .                          30              No

31    Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part I
                                                                                                                                                     31              No
32    Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets? If "Yes," complete Schedule
      N, Part II .  .    .   .    .  .  .    .   .   .    .   .   .  .    .  .  .    .   .    .  .     .   .   .                                     32              No

33    Did the organization own 100% of an entity disregarded as separate from the organization under Regulations sections
      301.7701 2 and 301.7701 3? If "Yes," complete Schedule R, Part I .    .  .   .   .   .   .  .   .   .   .   .                                  33              No

34    Was the organization related to any ta e empt or ta able entity? If "Yes," complete Schedule R, Part II, III, or IV, and
      Part V, line 1 .  .   .   .    .  .   .  .  .    .  .   .    .   .    .    .  .   .  .   .   .   .   .      .    .                             34              No


35a Did the organization have a controlled entity within the meaning of section 512(b)(13)?                                                          35a             No

  b If ‘Yes’ to line 35a, did the organization receive any payment from or engage in any transaction with a controlled entity
    within the meaning of section 512(b)(13)? If "Yes," complete Schedule R, Part V, line 2 .     .   .                                              35b

36    Section 501(c)(3) organizations. Did the organization make any transfers to an exempt non-charitable related
      organization? If "Yes," complete Schedule R, Part V, line 2 . . . .   .    .   .  .   .  .   .   .    .                                        36
37    Did the organization conduct more than 5% of its activities through an entity that is not a related organization and that
      is treated as a partnership for federal income ta purposes? If "Yes," complete Schedule R, Part VI                                             37              No

38    Did the organization complete Schedule O and provide e planations on Schedule O for Part VI, lines 11b and 19? Note.
      All Form 990 filers are required to complete Schedule O. . .   .   .   .  .   .    .   .   .    .   .                                          38        Yes

  Part V     Statements Regarding Other IRS Filings and Tax Compliance
             Check if Schedule O contains a response or note to any line in this Part V .                .   .       .       .       .       .   .   .     .    .
                                                                                                                                                               Yes   No
  1a Enter the number reported in box 3 of Form 1096. Enter -0- if not applicable      .       .    1a                                           5
  b Enter the number of Forms W 2G included on line 1a. Enter 0 if not applicable          .        1b                                           0

  c   Case 3:19-cv-00736                   Document 472-6                 Filed 01/23/24              Page 5 of 24 PageID #: 40269
      Did the organization comply with backup withholding rules for reportable payments to vendors and reportable gaming
      (gambling) winnings to prize winners? .    .  .   .    .   .    .  .   .   .  .   .   .  .   .   .   .   .                                     1c        Yes
                                                                                                                                                           Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                                        Page 5
  Part V     Statements Regarding Other IRS Filings and Tax Compliance (continued)
  2a Enter the number of employees reported on Form W-3, Transmittal of Wage and
     Ta Statements, filed for the calendar year ending with or within the year covered by
     this return .  .    .   .   .    .  .   .   .   .  .    .   .   .   .   .   .   .                                                                  2a                                                                           5
  b If at least one is reported on line 2a, did the organization file all required federal employment ta returns?                                                                                                                        2b     Yes
    Note. If the sum of lines 1a and 2a is greater than 250, you may be required to e-file. See instructions.
  3a Did the organization have unrelated business gross income of $1,000 or more during the year? .                                                                      .               .                                               3a            No
  b If “Yes,” has it filed a Form 990 T for this year?If “No” to line 3b, provide an explanation in Schedule O .                                                                                     .               .                   3b
  4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority over, a                                                                                                           4a            No
     financial account in a foreign country (such as a bank account, securities account, or other financial account)? .     .
   b If "Yes," enter the name of the foreign country:
     See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR).
  5a Was the organization a party to a prohibited ta shelter transaction at any time during the ta year?                                                                         .               .                                       5a            No
  b Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction?                                                                                                                     5b            No

  c   If "Yes," to line 5a or 5b, did the organization file Form 8886 T?                    .       .           .           .           .   .   .        .       .       .               .               .                               5c
  6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the organization                                                                                                                  6a            No
     solicit any contributions that were not ta deductible as charitable contributions? . .   .
  b If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts were
    not ta deductible? .       .    .   .  .    .  .   .     .   .   .  .   .    .  .  .   .    .  .    .   .   .                                                                                                                        6b
  7   Organizations that may receive deductible contributions under section 170(c).
  a Did the organization receive a payment in e cess of $75 made partly as a contribution and partly for goods and services                                                                                                              7a
    provided to the payor? .     .   . .    .   .  .    .   . .   .    .   .   .   .    .  .   .   .    .
  b If "Yes," did the organization notify the donor of the value of the goods or services provided?                                                          .       .           .               .               .                       7b
  c   Did the organization sell, e change, or otherwise dispose of tangible personal property for which it was required to file
      Form 8282? .      .   .    .   .  .   .    .  .   .   .   .    .  .    .  .   .   .   .   .   .    .   .   .   .                                                                                                                   7c
  d If "Yes," indicate the number of Forms 8282 filed during the year                           .       .           .           .                   7d


  e Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?
                                                                                                                                                                                                                                         7e
  f   Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract?                                                                                       .               .               7f
  g If the organization received a contribution of qualified intellectual property, did the organization file Form 8899 as
    required? .      .   .   .  .   .    .   .   .   .    .   .    .   .   .   .   .    .   .  .   .    .                                                                                                                                7g
  h If the organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form
    1098-C? .      .   .   .   .   .   .   .    .   .    .  .    .   .   .    .  .    .   .   .    .   .  .   .   .     .                                                                                                                7h


  8   Sponsoring organizations maintaining donor advised funds. Did a donor advised fund maintained by the
      sponsoring organization have e cess business holdings at any time during the year? . . . . .   .   .                                                                                                                   .            8

  9   Sponsoring organizations maintaining donor advised funds.
  a Did the sponsoring organization make any taxable distributions under section 4966? .                                                            .        .       .           .               .               .           .           9a
  b Did the sponsoring organization make a distribution to a donor, donor advisor, or related person? .                                                                              .               .                                   9b
10    Section 501(c)(7) organizations. Enter:
  a Initiation fees and capital contributions included on Part VIII, line 12                            .           .           .                   10a
  b Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities                                                     10b
11    Section 501(c)(12) organizations. Enter:
  a Gross income from members or shareholders           .       .       .       .       .       .           .           .           .               11a
  b Gross income from other sources. (Do not net amounts due or paid to other sources
    against amounts due or received from them.) .    .   .  .    .   .   .   .   .   .                                                              11b

12a Section 4947(a)(1) non-exempt charitable trusts. Is the organization filing Form 990 in lieu of Form 1041?                                                                                                                           12a
  b If "Yes," enter the amount of tax-exempt interest received or accrued during the year.
                                                                                                                                                    12b

13    Section 501(c)(29) qualified nonprofit health insurance issuers.
  a Is the organization licensed to issue qualified health plans in more than one state? .  .  .   .                                                                     .               .               .           .           .       13a
    Note. See the instructions for additional information the organization must report on Schedule O.
  b Enter the amount of reserves the organization is required to maintain by the states in
    which the organization is licensed to issue qualified health plans .  .   .    .                                                                13b

  c   Enter the amount of reserves on hand      .   .       .       .       .       .       .       .           .           .           .   .       13c
14a Did the organization receive any payments for indoor tanning services during the ta year? .                                                                  .           .               .               .                           14a           No
  b If "Yes," has it filed a Form 720 to report these payments?If "No," provide an explanation in Schedule O .                                                                                           .                               14b
15    Is the organization subject to the section 4960 ta on payment(s) of more than $1,000,000 in remuneration or e cess
      parachute payment(s) during the year? .       .   .   .  .   . .   .  .   .   .   .  .   .    . .   .   .    .  .                                                                                                                  15            No
      If "Yes," see the instructions and file Form 4720, Schedule N.
16    Is the organization an educational institution subject to the section 4968 e cise ta on net investment income? .                                                                                                           .       16            No
      If "Yes," complete Form 4720, Schedule O.

17    Section 501(c)(21) organizations. Did the trust, any disqualified person, or mine operator engage in any activities
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      that would result in the imposition of an excise tax under section 4951, 4952, or 4953? . .
      If "Yes," complete Form 6069.
                                                                                                                                                                                                                                               Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                                                                                           Page 6
 Part VI    Governance, Management, and Disclosure. For each "Yes" response to lines 2 through 7b below, and for a "No" response to lines
            8a, 8b, or 10b below, describe the circumstances, processes, or changes in Schedule O. See instructions.
            Check if Schedule O contains a response or note to any line in this Part VI . .   .   .   .   .   .   .  . . . .  .   .
  Section A. Governing Body and Management
                                                                                                                                                                                                                                                                                                   Yes    No
  1a Enter the number of voting members of the governing body at the end of the tax year                                                                                        1a                                                                                                      5
      If there are material differences in voting rights among members of the governing body,
      or if the governing body delegated broad authority to an executive committee or similar
      committee, e plain in Schedule O.
  b Enter the number of voting members included in line 1a, above, who are independent
                                                                                                                                                                                1b                                                                                                      5
  2   Did any officer, director, trustee, or key employee have a family relationship or a business relationship with any other
      officer, director, trustee, or key employee? .    .   .   .   .   .   .    .   .   .   .   .   .    .  .   .   .                                                                                                                                                                       2            No
  3   Did the organization delegate control over management duties customarily performed by or under the direct supervision
                                                                                                                                                                                                                                                                                             3            No
      of officers, directors or trustees, or key employees to a management company or other person? .
  4   Did the organization make any significant changes to its governing documents since the prior Form 990 was filed? .                                                                                                                                                                     4            No
  5   Did the organization become aware during the year of a significant diversion of the organization’s assets?                                                                                                                                    .                                        5            No
  6   Did the organization have members or stockholders?                .       .       .       .           .           .           .               .           .               .               .               .               .               .               .               .            6            No
  7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or more
     members of the governing body? .     .   .   .   .   .   .   .   .  .   .   .   .  .   .    .   .  .    .   .                                                                                                                                                                          7a            No
  b Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders, or                                                                                                                                                                      7b            No
    persons other than the governing body? .     .   .   .   .   .    .   .   .   .  .    .   . .   .   .   .   .   .
  8   Did the organization contemporaneously document the meetings held or written actions undertaken during the year by
      the following:
  a The governing body?       .     .   .   .    .    .   .     .       .       .       .       .           .           .           .               .           .               .               .               .               .               .               .                           8a     Yes
  b Each committee with authority to act on behalf of the governing body?                                           .           .           .           .               .               .               .               .               .               .               .           .       8b     Yes
  9   Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at the
      organization’s mailing address? If "Yes," provide the names and addresses in Schedule O .         .   .   .  .    .  .                                                                                                                                                                 9            No
  Section B. Policies (This Section B requests information about policies not required by the Internal Revenue Code.)
                                                                                                                                                                                                                                                                                                   Yes    No
10a Did the organization have local chapters, branches, or affiliates?                          .           .           .           .           .           .               .               .               .               .               .               .                               10a           No
  b If "Yes," did the organization have written policies and procedures governing the activities of such chapters, affiliates,
    and branches to ensure their operations are consistent with the organization's e empt purposes?                                                                                                                                                                                         10b

11a Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the
    form? .    .   .   .   .   .   .   .  .   .   .   .    .  .   .   .    . .   .    .   .   .   .  .   .   .     .   .                                                                                                                                                                    11a    Yes
  b Describe on Schedule O the process, if any, used by the organization to review this Form 990.                                                                                                   .               .               .               .               .
12a Did the organization have a written conflict of interest policy? If "No," go to line 13 .                                                                       .               .               .               .               .               .                                       12a    Yes
  b Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to
    conflicts? .    .   .    .    .   .   .  .   .   .  .   .   .   .   .   .   .   .   .    .   .   .   .   .   .    .                                                                                                                                                                     12b    Yes
  c   Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes," describe on
      Schedule O how this was done .      .   .   .   .  .    .   .  .   .   .   .  .   .   .   .    .    .   .                                                                                                                                                                             12c    Yes
13    Did the organization have a written whistleblower policy?                 .       .           .           .           .           .           .           .               .               .               .               .               .               .               .           13     Yes
14    Did the organization have a written document retention and destruction policy?                                                            .           .               .               .               .               .               .               .               .               14     Yes
15    Did the process for determining compensation of the following persons include a review and approval by independent
      persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
  a The organization’s CEO, Executive Director, or top management official                                          .           .           .           .               .               .               .               .               .               .               .                   15a    Yes
  b Other officers or key employees of the organization             .       .       .       .           .           .           .           .           .               .               .               .               .               .               .               .                   15b    Yes
      If "Yes" to line 15a or 15b, describe the process on Schedule O. See instructions.
16a Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement with a
    taxable entity during the year? .      .  .   .    .   .   .    .   .    .   .    .  .   .    .   .   .   . .   .    .                                                                                                                                                          .       16a           No
  b If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its participation
    in joint venture arrangements under applicable federal tax law, and take steps to safeguard the organization’s exempt
    status with respect to such arrangements? .         .   .    .  .   .   .   .   .   .   .   .
                                                                                                                                                                                                                                                                                            16b
  Section C. Disclosure
17    List the states with which a copy of this Form 990 is required to be filed
18    Section 6104 requires an organization to make its Form 1023 (1024 or 1024 A, if applicable), 990, and 990 T (section
      501(c)(3)s only) available for public inspection. Indicate how you made these available. Check all that apply.
           Own website            Another's website           Upon request                              Other (explain in Schedule O)
19    Describe in Schedule O whether (and if so, how) the organization made its governing documents, conflict of interest
      policy, and financial statements available to the public during the tax year.
20
      Case 3:19-cv-00736                        Document 472-6                              Filed 01/23/24
      State the name, address, and telephone number of the person who possesses the organization's books and records:
                                                                                                                                                                                    Page 7 of 24 PageID #: 40271
        THE ORGANI ATION 529 14TH ST NW 1085       WASHINGTON, DC 20045 (202) 792 5464
                                                                                                                                                                                                                                                                                                  Form 990 (2021)
Form 990 (2021)                                                                                                                                                                       Page 7
  Part VII        Compensation of Officers, Directors,Trustees, Key Employees, Highest Compensated Employees,
                  and Independent Contractors
                  Check if Schedule O contains a response or note to any line in this Part VII .                     .    .    .   .      .   .     .   .   .   .       .     .   .
   Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees
1a Complete this table for all persons required to be listed. Report compensation for the calendar year ending with or within the organization’s ta
year.
      List all of the organization’s current officers, directors, trustees (whether individuals or organizations), regardless of amount
of compensation. Enter -0- in columns (D), (E), and (F) if no compensation was paid.
     List all of the organization’s current key employees, if any. See the instructions for definition of "key employee."
    List the organization’s five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (bo 5 of Form W 2, Form 1099 MISC, and/or bo 1 of Form 1099 NEC) of more than $100,000 from the
organization and any related organizations.
     List all of the organization’s former officers, key employees, or highest compensated employees who received more than $100,000
of reportable compensation from the organization and any related organizations.
    List all of the organization’s former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations.
See the instructions for the order in which to list the persons above.
     Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee.
                           (A)                                            (B)                           (C)                     (D)                     (E)                     (F)
                       Name and title                                  Average             Position (do not check more      Reportable               Reportable             Estimated
                                                                      hours per            than one bo , unless person    compensation             compensation         amount of other
                                                                      week (list             is both an officer and a        from the               from related         compensation
                                                                    any hours for                director/trustee)       organization (W           organizations             from the
                                                                       related                                                2/1099-                (W-2/1099-         organization and
                                                                    organizations                                        MISC/1099 NEC)           MISC/1099 NEC)              related
                                                                    below dotted                                                                                          organizations
                                                                         line)




(1) ELIZABETH MILES                                                               1.00
                                                                       .................
................................................................... ..                      X                                                 0                     0                     0
DIRECTOR

(2) ELLEN SCHRANTZ                                                                1.00
                                                                       .................
................................................................... ..                      X                                                 0                     0                     0
DIRECTOR
                                                                                  1.00
(3) CYNTHIA GREER
                                                                       .................
................................................................... ..                      X                                                 0                     0                     0
DIRECTOR

(4) RACHEL LANDY                                                                  1.00
................................................................... .. .................    X                                                 0                     0                     0
DIRECTOR

(5) REGAN SMITH                                                                   1.00
................................................................... .. .................    X                                                 0                     0                     0
DIRECTOR

(6) GARRETT LEVIN                                                                40.00
                                                                       .................
................................................................... ..                                 X                               475,060                      0                     0
PRESIDENT AND CEO

(7) SALLY ROSE LARSON                                                            40.00
................................................................... .. .................               X                               237,593                      0                     0
VICE PRESIDENT

(8) KIRSTEN DONALDSON                                                            40.00
................................................................... .. .................               X                                62,917                      0                     0
SECRETARY/TREASURER

(9) KEVIN GOLDBERG                                                               40.00
................................................................... .. .................                            X                  113,167                      0                     0
FORMER VICE PRESIDENT, SEC




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                                                                                                                                                                            Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                        Page 8
 Part VII        Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees (continued)

                      (A)                                         (B)                                 (C)                                       (D)                       (E)                        (F)
                  Name and title                               Average                   Position (do not check more                        Reportable                Reportable                 Estimated
                                                              hours per                  than one bo , unless person                      compensation              compensation             amount of other
                                                              week (list                   is both an officer and a                          from the                from related             compensation
                                                            any hours for                      director/trustee)                         organization (W          organizations (W                from the
                                                               related                                                                        2/1099-                   2/1099-              organization and
                                                            organizations                                                                MISC/1099 NEC)           MISC/1099 NEC)                   related
                                                            below dotted                                                                                                                       organizations
                                                                 line)




1b Sub-Total .         .   .   .   .   .    .       .        .       .       .       .       .       .       .       .
    c Total from continuation sheets to Part VII, Section A .   .   .   .
    d Total (add lines 1b and 1c) .  .   .  .   .   .   .  .  .   .   .                                                                          888,737                             0                        0

2      Total number of individuals (including but not limited to those listed above) who received more than $100,000 of
       reportable compensation from the organization       3

                                                                                                                                                                                               Yes     No
3      Did the organization list any former officer, director or trustee, key employee, or highest compensated employee on
       line 1a? If "Yes," complete Schedule J for such individual .    . . . . . . . . . . . . .                                                                                         3     Yes
4      For any individual listed on line 1a, is the sum of reportable compensation and other compensation from the
       organization and related organizations greater than $150,000? If "Yes," complete Schedule J for such
       individual
                                                                                                                                                                                         4     Yes
         .   .     .   .   .   .   .   .        .       .        .       .       .       .       .       .       .       .   .   .   .   .   .     .   .      .    .
5      Did any person listed on line 1a receive or accrue compensation from any unrelated organization or individual for
       services rendered to the organization?If "Yes," complete Schedule J for such person .  . . . . . . .                                                                              5             No
    Section B. Independent Contractors
1      Complete this table for your five highest compensated independent contractors that received more than $100,000 of compensation from
       the organization. Report compensation for the calendar year ending with or within the organization’s tax year.
                                                     (A)                                                                                                             (B)                           (C)
                                           Name and business address                                                                                       Description of services             Compensation
JLL COMMUNICATIONS                                                                                                                                                                                    150,000

613 INDEPENDENCE AVE SE
WASHINGTON, DC 20003
MERCURY PUBLIC AFFAIRS                                                                                                                                                                                110,484

300 TINGEY STREEET SE
WASHINGTON, DC 20003




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2 Total number of independent contractors (including but not limited to those listed above) who received more than $100,000 of
                                                                                                                                             Page 9 of 24 PageID #: 40273
  compensation from the organization    2
                                                                                                                                                                                              Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                               Page 9
  Part VIII         Statement of Revenue
                    Check if Schedule O contains a response or note to any line in this Part VIII .                                                                                 .    .   .   .       .   .   .   .   .       .    .   .
                                                                                    (A)                                                                                                (B)                      (C)                     (D)
                                                                              Total revenue                                                                                         Related or               Unrelated                Revenue
                                                                                                                                                                                     e empt                  business              e cluded from
                                                                                                                                                                                     function                 revenue            tax under sections
                                                                                                                                                                                     revenue                                          512 514
       1a Federated campaigns .                                  .                       1a
           b Membership dues .                       .                                   1b                                                  2,125,000

           c Fundraising events .                        .                               1c
           d Related organizations                                                       1d
           e Government grants (contributions)                                           1e
           f   All other contributions, gifts, grants,
               and similar amounts not included
               above                                                                     1f
           g Noncash contributions included in
               lines 1a - 1f:$
                                                                                         1g
           h Total. Add lines 1a 1f .                            .           .           .               .               .               .
                                                                                                                                                                  2,125,000
                                                                                                                         Business Code
       2a



           b


           c


           d


           e


           f All other program service revenue.

        g Total. Add lines 2a–2f.                            .       .       .       .
        3 Investment income (including dividends, interest, and other
                                                                                                                                                                              753                                                                753
         similar amounts) .    .   .  .    .  .
        4 Income from investment of tax-exempt bond proceeds
        5 Royalties .            .   .           .           .           .           .           .               .               .               .
                                                                     (i) Real                                                    (ii) Personal

       6a Gross rents                    6a

       b       Less: rental
               e penses                  6b

       c       Rental income
               or (loss)                 6c
           d Net rental income or (loss) .                                       .           .               .               .               .           .
                                                             (i) Securities                                                          (ii) Other

       7a Gross amount
               from sales of             7a
               assets other
               than inventory

       b       Less: cost or
               other basis and           7b
               sales expenses


       c       Gain or (loss)            7c

           d Net gain or (loss) .                    .           .           .           .               .               .               .               .
       8a Gross income from fundraising events
          (not including $                   of
               contributions reported on line 1c).
               See Part IV, line 18 .      .    .                            .
                                                                                                 8a

           b Less: direct e penses                   .           .           .                   8b
           c Net income or (loss) from fundraising events .                                                                                          .


       9a Gross income from gaming activities.
               See Part IV, line 19          .           .           .                           9a

           b Less: direct expenses                   .           .           .                   9b

           c Net income or (loss) from gaming activities .                                                                                   .


       10aGross sales of inventory, less
          returns and allowances .       .                                                   10a
           b Less: cost of goods sold                        .           .                   10b

           c Net income or (loss) from sales of inventory .                                                                                      .
                       Miscellaneous Revenue                                                                             Business Code
       11a



           b



           c



           d All other revenue           .           .           .           .
           e Total. Add lines 11a 11d                            .           .           .               .               .               .
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       12 Total revenue. See instructions .                                                          .               .               .               .
                                                                                                                                                                     2,125,753                       0                       0                   753
                                                                                                                                                                                                                                     Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                                                                 Page 10
 Part IX        Statement of Functional Expenses
                Section 501(c)(3) and 501(c)(4) organizations must complete all columns. All other organizations must complete column (A).

                Check if Schedule O contains a response or note to any line in this Part IX .                                                                                                                         .    .   .   .   .    .   .   .   .     .   .     .   .
                                                                                                                                                                                                                           (B)                   (C)                     (D)
Do not include amounts reported on lines 6b,                                                                                                                                                        (A)
                                                                                                                                                                                                                     Program service       Management and             Fundraising
7b, 8b, 9b, and 10b of Part VIII.                                                                                                                                                             Total expenses
                                                                                                                                                                                                                        expenses           general expenses            expenses
  1 Grants and other assistance to domestic organizations and
    domestic governments. See Part IV, line 21
     .   .   .   .
  2 Grants and other assistance to domestic individuals. See
    Part IV, line 22 .   .   .   .  .  .    .   .   .    .   .

  3 Grants and other assistance to foreign organizations, foreign
    governments, and foreign individuals. See Part IV, lines 15
    and 16. .    .   .   .   .   .    .  .    .  .    .   .   .

  4 Benefits paid to or for members .                                                                                     .               .               .           .           .       .
  5 Compensation of current officers, directors, trustees, and key                                                                                                                                      775,570
    employees .     .   .   .    .   .    .  .     .  .    .
  6 Compensation not included above, to disqualified persons (as
    defined under section 4958(f)(1)) and persons described in
    section 4958(c)(3)(B) .   .    .   .   .   .   .  .   .
  7 Other salaries and wages .                                                                    .               .               .               .           .           .           .                 155,013

  8 Pension plan accruals and contributions (include section
    401(k) and 403(b) employer contributions) .      .   .   .
  9 Other employee benefits                                                       .               .               .               .               .           .           .                              27,893

10 Payroll ta es                  .           .               .               .               .               .               .               .               .           .           .                  57,412

11 Fees for services (non-employees):
  a Management                    .               .               .               .               .               .
  b Legal   .         .           .               .               .               .               .               .               .                                                                      36,192

  c Accounting                .           .               .               .               .               .               .               .               .           .           .                      17,970

  d Lobbying          .           .               .               .               .               .               .               .               .           .           .
  e Professional fundraising services. See Part IV, line 17
  f Investment management fees                                                                        .               .               .               .           .           .
  g Other (If line 11g amount e ceeds 10% of line 25, column (A)                                                                                                                                        451,647
    amount, list line 11g expenses on Schedule O)
12 Advertising and promotion                                                          .               .               .               .
13 Office expenses                            .               .               .               .               .               .               .                                                           7,051

14 Information technology                                                 .               .               .               .               .               .                                              18,150

15 Royalties          .           .
16 Occupancy                  .           .               .               .               .               .               .               .               .           .           .                      16,490

17 Travel     .           .           .               .               .               .               .               .               .               .           .           .                          28,202

18 Payments of travel or entertainment e penses for any
   federal, state, or local public officials .
19 Conferences, conventions, and meetings                                                                                                         .           .           .           .
20 Interest       .           .           .               .               .               .               .               .               .               .           .
21 Payments to affiliates                                         .               .               .               .               .               .               .
22 Depreciation, depletion, and amortization                                                                                                          .           .                                      14,004

23 Insurance          .               .           .                                                                                                                                                      18,930

24 Other expenses. Itemize expenses not covered above (List
   miscellaneous e penses in line 24e. If line 24e amount
   exceeds 10% of line 25, column (A) amount, list line 24e
   e penses on Schedule O.)
   a DUES & SUBSCRIPTIONS                                                                                                                                                                                 1,476


   b TELECOM                                                                                                                                                                                                   661


   c TAXES & LICENSES                                                                                                                                                                                           25


   d
   e All other expenses
25 Total functional expenses. Add lines 1 through 24e                                                                                                                                                 1,626,686

26 Joint costs. Complete this line only if the organization
   reported in column (B) joint costs from a combined
       Case 3:19-cv-00736
   educational campaign and fundraising solicitation.                                                                 Document 472-6                                                          Filed 01/23/24               Page 11 of 24 PageID #: 40275
    Check here                                    if following SOP 98-2 (ASC 958-720).
                                                                                                                                                                                                                                                                      Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                                                                                                     Page 11
  Part X     Balance Sheet

           Check if Schedule O contains a response or note to any line in this Part IX .                                                                                                                                                               .   .    .   .   .     .   .   .       .   .   .   .   .
                                                                                                                                                                                                                                                                  (A)                                     (B)
                                                                                                                                                                                                                                                           Beginning of year                          End of year
      1    Cash non interest bearing                           .           .           .               .                   .               .               .               .                                                                                                557,060       1                   1,063,329
      2    Savings and temporary cash investments                                                                      .               .               .               .               .               .               .               .           .                                      2
      3    Pledges and grants receivable, net                                              .               .               .               .               .               .                                                                                                              3
      4    Accounts receivable, net                        .           .           .               .               .               .               .               .               .               .               .               .           .                             20,000       4                       20,000
      5    Loans and other receivables from any current or former officer, director,
           trustee, key employee, creator or founder, substantial contributor, or 35%
                                                                                                                                                                                                                                                                                          5
           controlled entity or family member of any of these persons
      6      .
           Loans . and. other
                           . receivables
                              .   .   . from other disqualified persons (as defined under
           section 4958(f)(1)), and persons described in section 4958(c)(3)(B) .                                                                                                                                                   .           .                                          6
      7    Notes and loans receivable, net                                     .               .               .               .               .               .               .               .               .               .           .                                              7
      8    Inventories for sale or use                         .           .           .               .               .               .               .               .               .               .               .               .                                                  8
      9    Prepaid expenses and deferred charges                                                               .               .               .               .               .               .                                                                                          9
     10a Land, buildings, and equipment: cost or other
         basis. Complete Part VI of Schedule D                                                                                                 10a                                                                                         59,247

       b   Less: accumulated depreciation                                                                                                      10b                                                                                         39,827                            21,779 10c                           19,420
     11    Investments    publicly traded securities                                                           .                                                                                                                                                                      11
     12    Investments—other securities. See Part IV, line 11                                                                                              .               .               .               .               .                                                          12
     13    Investments    program related. See Part IV, line 11                                                                                                .               .                                                                                                      13
     14    Intangible assets       .           .           .           .           .               .               .               .               .               .               .               .               .               .           .                                      14
     15    Other assets. See Part IV, line 11                                      .               .               .                   .               .               .               .               .               .               .           .                          5,050   15                                0
     16    Total assets. Add lines 1 through 15 (must equal line 33)                                                                                                                       .               .               .                                                603,889   16                      1,102,749
    17     Accounts payable and accrued e penses                                                                   .               .               .               .               .                                                                                          5,825   17                            5,618
    18     Grants payable      .           .           .                                                                                                                                                                                                                              18
    19     Deferred revenue            .           .           .           .           .               .               .               .               .                                                                                                                              19
    20     Tax-exempt bond liabilities                             .           .           .               .               .               .               .               .                   .                                                                                      20
    21     Escrow or custodial account liability. Complete Part IV of Schedule D                                                                                                                                                                                                      21
    22     Loans and other payables to any current or former officer, director, trustee, key
           employee, creator or founder, substantial contributor, or 35% controlled entity
           or family member of any of these persons
                                                                                                                                                                                                                                                                                      22
            .    .   .  .   .   .   .   .  .
    23     Secured mortgages and notes payable to unrelated third parties .        .                                                                                                                                                                                                  23
    24     Unsecured notes and loans payable to unrelated third parties                                                                                                                                .               .                                                              24

    25     Other liabilities (including federal income ta , payables to related third parties,                                                                                                                                                                                        25
           and other liabilities not included on lines 17 - 24).
           Complete Part X of Schedule D
    26     Total liabilities. Add lines 17 through 25                                                                  .               .                                                                                                                                      5,825   26                            5,618

           Organizations that follow FASB ASC 958, check here                                                                                                                                                      and
           complete lines 27, 28, 32, and 33.
    27     Net assets without donor restrictions . . . .  .   .                                                                                                                                    .               .               .           .                            598,064   27                      1,097,131
    28     Net assets with donor restrictions                                          .               .               .               .               .               .               .               .               .               .           .                                  28

           Organizations that do not follow FASB ASC 958, check here                                                                                                                                                                           and
           complete lines 29 through 33.
    29     Capital stock or trust principal, or current funds . . . . .                                                                                                                                                                                                               29
    30     Paid-in or capital surplus, or land, building or equipment fund                                                                                                                             .               .               .                                              30
    31     Retained earnings, endowment, accumulated income, or other funds                                                                                                                                                                                                           31
    32     Total net assets or fund balances
     Case 3:19-cv-00736                                                            .
                                                                       Document 472-6              .               .               .               .               .               .               .
                                                                                                                                                                                       Filed 01/23/24              .               .           .               Page 12 of 24 32
                                                                                                                                                                                                                                                                            598,064      1,097,131
                                                                                                                                                                                                                                                                             PageID #: 40276
    33     Total liabilities and net assets/fund balances                                                                          .               .               .               .               .               .               .           .                            603,889   33                      1,102,749
                                                                                                                                                                                                                                                                                                          Form 990 (2021)
Form 990 (2021)                                                                                                                                                                                                                                                                                                          Page 12
 Part XI      Reconcilliation of Net Assets
              Check if Schedule O contains a response or note to any line in this Part XI .                                                                                                      .           .           .           .           .           .       .       .       .       .       .       .       .


 1     Total revenue (must equal Part VIII, column (A), line 12)                                             .           .           .           .           .           .           .           .           .           .           .           .                               1                                   2,125,753
 2     Total expenses (must equal Part IX, column (A), line 25)                                              .           .           .           .           .           .           .           .           .           .           .           .                               2                                   1,626,686
 3     Revenue less e penses. Subtract line 2 from line 1                                    .           .           .           .           .           .           .           .           .           .           .           .           .           .                       3                                       499,067
 4     Net assets or fund balances at beginning of year (must equal Part X, line 32, column (A))                                                                                                                 .           .                                                   4                                       598,064
 5     Net unrealized gains (losses) on investments                          .       .           .               .           .           .           .           .           .           .           .           .           .           .           .                           5
 6     Donated services and use of facilities                    .       .       .       .           .           .           .           .           .           .           .           .           .           .           .           .           .                           6
 7     Investment e penses     .       .       .         .       .       .       .       .           .           .           .           .           .           .           .           .           .           .           .           .           .                           7
 8     Prior period adjustments    .       .         .       .       .       .       .           .           .           .           .           .           .           .           .           .           .           .           .           .           .                   8
 9     Other changes in net assets or fund balances (e plain in Schedule O)                                                                          .           .           .           .           .           .           .           .                                       9                                             0
 10 Net assets or fund balances at end of year. Combine lines 3 through 9 (must equal Part X, line 32, column (B))                                                                                                                                                           10                                      1,097,131
  Part XII     Financial Statements and Reporting
               Check if Schedule O contains a response or note to any line in this Part XII .                                                                                                            .           .           .           .           .       .       .       .       .       .       .       .
                                                                                                                                                                                                                                                                                                             Yes          No

  1    Accounting method used to prepare the Form 990:              Cash         Accrual     Other
       If the organization changed its method of accounting from a prior year or checked "Other," explain on
       Schedule O.
  2a Were the organization’s financial statements compiled or reviewed by an independent accountant?                                                                                                                                                                                         2a                           No
       If ‘Yes,’ check a box below to indicate whether the financial statements for the year were compiled or reviewed on a
       separate basis, consolidated basis, or both:

             Separate basis                        Consolidated basis                                                        Both consolidated and separate basis

   b Were the organization’s financial statements audited by an independent accountant?                                                                                                                                                                                                      2b                           No
       If ‘Yes,’ check a box below to indicate whether the financial statements for the year were audited on a separate basis,
       consolidated basis, or both:

             Separate basis                        Consolidated basis                                                        Both consolidated and separate basis

   c   If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
       of the audit, review, or compilation of its financial statements and selection of an independent accountant?                                                                                                                                                                          2c
       If the organization changed either its oversight process or selection process during the tax year, explain in Schedule O.


  3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in the Single
     Audit Act and OMB Circular A 133?                                                                                                                                                                                                                                                       3a                           No
       Case 3:19-cv-00736                            Document 472-6
   b If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the required audit Filed 01/23/24                                                                  Page 13 of 24 PageID #: 40277
     or audits, explain why in Schedule O and describe any steps taken to undergo such audits.                                                                                                                                                                                               3b
                                                                                                                                                                                                                                                                                                         Form 990 (2021)
 efile GRAPHIC print                       Submission Date - 2022-11-14                                                                                               DLN: 93493318170982

SCHEDULE C                                   Political Campaign and Lobbying Activities                                                                                       OMB No. 1545-0047

(Form 990)
Department of the
                                  For Organizations Exempt From Income Tax Under section 501(c) and
                                  section 527
                                                                                                                                                                              2021
Treasury                                                                                                                                                                      Open to Public
Internal Revenue                     Complete if the organization is described below. Attach to Form 990 or Form 990-EZ.                                                       Inspection
Service                                     Go to www.irs.gov/Form990 for instructions and the latest information.
If the organization answered "Yes" on Form 990, Part IV, Line 3, or Form 990-EZ, Part V, line 46 (Political
Campaign Activities), then
    Section 501(c)(3) organi ations: Complete Parts I A and B. Do not complete Part I C.
     Section 501(c) (other than section 501(c)(3)) organizations: Complete Parts I-A and C below. Do not complete Part I-B.
     Section 527 organi ations: Complete Part I A only.
If the organization answered "Yes" on Form 990, Part IV, Line 4, or Form 990-EZ, Part VI, line 47 (Lobbying
Activities), then
     Section 501(c)(3) organizations that have filed Form 5768 (election under section 501(h)): Complete Part II-A. Do not
complete Part II B.
     Section 501(c)(3) organizations that have NOT filed Form 5768 (election under section 501(h)): Complete Part II-B. Do not
complete Part II A.
If the organization answered "Yes" on Form 990, Part IV, Line 5 (Proxy Tax) (see separate instructions) or Form
990-EZ, Part V, line 35c (Proxy Tax) (see separate instructions), then
     Section 501(c)(4), (5), or (6) organizations: Complete Part III.
    Name of the organization                                                                                                                             Employer identification number
    DIGITAL MEDIA ASSOCIATION
                                                                                                                                                         54 1920927
Part I-A           Complete if the organization is exempt under section 501(c) or is a section 527 organization.
1        Provide a description of the organization’s direct and indirect political campaign activities in Part IV. See instructions for definition of
         “political campaign activities."
2        Political campaign activity e penditures. See instructions ....................................................................                                $
3        Volunteer hours for political campaign activities. See instructions ..................................................................
Part I-B           Complete if the organization is exempt under section 501(c)(3).
1        Enter the amount of any excise tax incurred by the organization under section 4955 ................................                                            $
2        Enter the amount of any e cise ta incurred by organization managers under section 4955 .......................                                                 $
3        If the organization incurred a section 4955 ta , did it file Form 4720 for this year? .........................................
                                                                                                                                                                                  Yes          No
4a       Was a correction made? ......................................................................................................................
                                                                                                                                                                                  Yes          No
    b    If "Yes," describe in Part IV.
Part I-C           Complete if the organization is exempt under section 501(c), except section 501(c)(3).
1        Enter the amount directly expended by the filing organization for section 527 exempt function activities .....                                                 $
2        Enter the amount of the filing organization's funds contributed to other organizations for section 527 e empt
         function activities ............................................................................................................................               $

3        Total exempt function expenditures. Add lines 1 and 2. Enter here and on Form 1120-POL, line 17b...........                                                    $
4        Did the filing organization file Form 1120-POL for this year? ...................................................................
                                                                                                                                                                                  Yes          No
5        Enter the names, addresses and employer identification number (EIN) of all section 527 political organizations to which the filing
         organization made payments. For each organization listed, enter the amount paid from the filing organization’s funds. Also enter the amount of
         political contributions received that were promptly and directly delivered to a separate political organization, such as a separate segregated
         fund or a political action committee (PAC). If additional space is needed, provide information in Part IV.

(a) Name                                         (b) Address                                      (c) EIN                                          (d) Amount paid from      (e) Amount of political
                                                                                                                                                     filing organization's   contributions received
                                                                                                                                                    funds. If none, enter       and promptly and
                                                                                                                                                              -0-.           directly delivered to a
                                                                                                                                                                                separate political
                                                                                                                                                                              organization. If none,
                                                                                                                                                                                    enter 0 .

1


2


3


4


5
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6
For Paperwork Reduction Act Notice, see the instructions for Form 990.                                                                Cat. No. 50084S                 Schedule C (Form 990) 2021
Schedule C (Form 990) 2021                                                                                                                                                               Page 2
    Part II-A           Complete if the organization is exempt under section 501(c)(3) and filed Form 5768 (election under
                        section 501(h)).
A       Check              if the filing organization belongs to an affiliated group (and list in Part IV each affiliated group member's name, address, EIN,
                          expenses, and share of excess lobbying expenditures).
B       Check              if the filing organization checked box A and "limited control" provisions apply.
                                                                                                                                                          (a) Filing      (b) Affiliated group
                                           Limits on Lobbying Expenditures                                                                              organization's           totals
                             (The term "expenditures" means amounts paid or incurred.)                                                                      totals

1a      Total lobbying e penditures to influence public opinion (grass roots lobbying) ......................
 b      Total lobbying expenditures to influence a legislative body (direct lobbying) ........................
    c   Total lobbying e penditures (add lines 1a and 1b) ............................................................
 d      Other exempt purpose expenditures ...............................................................................
 e      Total e empt purpose e penditures (add lines 1c and 1d) ..................................................

    f   Lobbying nontaxable amount. Enter the amount from the following table in both
        columns.
        If the amount on line 1e, column (a) or (b) is:                        The lobbying nontaxable amount is:
        Not over $500,000                                                      20% of the amount on line 1e.

        Over $500,000 but not over $1,000,000                                  $100,000 plus 15% of the excess over $500,000.

        Over $1,000,000 but not over $1,500,000                                $175,000 plus 10% of the excess over $1,000,000.

        Over $1,500,000 but not over $17,000,000                               $225,000 plus 5% of the excess over $1,500,000.

        Over $17,000,000                                                       $1,000,000.



 g      Grassroots nontaxable amount (enter 25% of line 1f) .................................................
 h      Subtract line 1g from line 1a. If zero or less, enter 0 . ................................................
    i   Subtract line 1f from line 1c. If zero or less, enter -0-. ................................................
    j   If there is an amount other than zero on either line 1h or line 1i, did the organization file Form 4720 reporting
        section 4911 ta for this year? ...................................................................................................................                   Yes        No



                                            4-Year Averaging Period Under Section 501(h)
                    (Some organizations that made a section 501(h) election do not have to complete all of the five
                               columns below. See the separate instructions for lines 2a through 2f.)

                                                       Lobbying Expenditures During 4-Year Averaging Period

                             Calendar year (or fiscal year
                                                                                              (a) 2018               (b) 2019               (c) 2020           (d) 2021            (e) Total
                                    beginning in)


2a       Lobbying nontaxable amount

 b       Lobbying ceiling amount
         (150% of line 2a, column(e))

    c    Total lobbying e penditures

 d       Grassroots nontaxable amount

 e       Grassroots ceiling amount
         (150% of line 2d, column (e))
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    f    Grassroots lobbying e penditures
                                                                                                                                                              Schedule C (Form 990) 2021
Schedule C (Form 990) 2021                                                                                                                                                         Page 3
  Part II-B             Complete if the organization is exempt under section 501(c)(3) and has NOT filed
                        Form 5768 (election under section 501(h)).
                                                                                                                                                                  (a)        (b)
For each "Yes" response on lines 1a through 1i below, provide in Part IV a detailed description of the lobbying
activity.                                                                                                                                                   Yes | No        Amount

1       During the year, did the filing organization attempt to influence foreign, national, state or local legislation,
        including any attempt to influence public opinion on a legislative matter or referendum, through the use of:

    a   Volunteers? ...........................................................................................................
    b   Paid staff or management (include compensation in e penses reported on lines 1c through 1i)? ........
    c   Media advertisements? ...................................................................................................
    d   Mailings to members, legislators, or the public? .............................................................................
    e   Publications, or published or broadcast statements? ...........................................................
    f   Grants to other organizations for lobbying purposes? ..........................................................
    g   Direct contact with legislators, their staffs, government officials, or a legislative body? .......................
    h   Rallies, demonstrations, seminars, conventions, speeches, lectures, or any similar means? ..................
    i   Other activities? ...................................................................................................................
    j   Total. Add lines 1c through 1i ....................................................................................................
2a      Did the activities in line 1 cause the organization to be not described in section 501(c)(3)? .....
    b   If "Yes," enter the amount of any tax incurred under section 4912 ...........................................
    c   If "Yes," enter the amount of any ta incurred by organization managers under section 4912 ...................
    d   If the filing organization incurred a section 4912 ta , did it file Form 4720 for this year? ........................
 Part III-A             Complete if the organization is exempt under section 501(c)(4), section 501(c)(5), or section
                        501(c)(6).
                                                                                                                                                                             Yes     No
 1      Were substantially all (90% or more) dues received nondeductible by members? ...............................................                                    1            No
 2      Did the organization make only in-house lobbying expenditures of $2,000 or less? ............................................                                   2            No
 3      Did the organization agree to carry over lobbying and political e penditures from the prior year? .................................                             3    Yes
 Part III-B             Complete if the organization is exempt under section 501(c)(4), section 501(c)(5), or section 501(c)(6)
                        and if either (a) BOTH Part III-A, lines 1 and 2, are answered "No" OR (b) Part III-A, line 3, is answered
                        “Yes."
 1      Dues, assessments and similar amounts from members ......................................................................                            1                 2,125,000
 2      Section 162(e) nondeductible lobbying and political expenditures (do not include amounts of political
        expenses for which the section 527(f) tax was paid).
                                                                                                                                                            2a                     430,915
    a   Current year .............................................................................................................................
    b   Carryover from last year ............................................................................................................               2b                      51,918

    c   Total ...........................................................................................................................................    2c                    482,833

 3      Aggregate amount reported in section 6033(e)(1)(A) notices of nondeductible section 162(e) dues .                                                    3                     559,725

 4      If notices were sent and the amount on line 2c e ceeds the amount on line 3, what portion of the e cess does
        the organization agree to carryover to the reasonable estimate of nondeductible lobbying and political
        e penditure ne t year? ......................................................................................................................        4
 5      Ta able amount of lobbying and political e penditures. See Instructions .........................................                                    5                      76,892

     Part IV            Supplemental Information
 Provide the descriptions required for Part l-A, line 1; Part l-B, line 4; Part l-C, line 5; Part II-A (affiliated group list); Part II-A, lines 1 and 2 (see
 instructions), and Part ll B, line 1. Also, complete this part for any additional information.

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           Return Reference                                   Document 472-6                                 Filed 01/23/24     Page 16 of 24 PageID #: 40280
                                                                                                                         Explanation
PART II B, LINE 1:                                           LOBBYING ON CAPITOL HILL BY EMPLOYEE OF THE ORGANI ATION.
                                                                                                                                                            Schedule C (Form 990) 2021
efile GRAPHIC print                Submission Date - 2022-11-14                                                                    DLN: 93493318170982
                                                                                                                                             OMB No. 1545-0047
SCHEDULE D
                                          Supplemental Financial Statements
                                                                                                                                             2021
(Form 990)
                                              Complete if the organization answered "Yes," on Form 990,
                                         Part IV, line 6, 7, 8, 9, 10, 11a, 11b, 11c, 11d, 11e, 11f, 12a, or 12b.
Department of the                                                    Attach to Form 990.                                                     Open to Public
Treasury                                Go to www.irs.gov/Form990 for instructions and the latest information.                                Inspection
Internal Revenue
Service
  Name of the organization                                                                                            Employer identification number
 DIGITAL MEDIA ASSOCIATION
                                                                                                                      XX-XXXXXXX
 Part I          Organizations Maintaining Donor Advised Funds or Other Similar Funds or Accounts.
                 Complete if the organization answered "Yes" on Form 990, Part IV, line 6.
                                                                               (a) Donor advised funds                     (b) Funds and other accounts
1        Total number at end of year . . . . . . . . .
2        Aggregate value of contributions to (during year)
3        Aggregate value of grants from (during year)
4        Aggregate value at end of year . . . . . . . .

5         Did the organization inform all donors and donor advisors in writing that the assets held in donor advised funds are the
          organization’s property, subject to the organization’s e clusive legal control? . . . . . . . . . . . .
                                                                                                                                                   Yes        No
6         Did the organization inform all grantees, donors, and donor advisors in writing that grant funds can be used only for
          charitable purposes and not for the benefit of the donor or donor advisor, or for any other purpose conferring impermissible
          private benefit? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                   Yes        No
 Part II         Conservation Easements.
                 Complete if the organi ation answered "Yes" on Form 990, Part IV, line 7.
1         Purpose(s) of conservation easements held by the organization (check all that apply).
               Preservation of land for public use (e.g., recreation or education)              Preservation of an historically important land area

               Protection of natural habitat                                                    Preservation of a certified historic structure

               Preservation of open space
2         Complete lines 2a through 2d if the organization held a qualified conservation contribution in the form of a conservation
          easement on the last day of the ta year.                                                                       Held at the End of the Year
    a    Total number of conservation easements . . . . . . . . . . . . . . . . . . . . . .                          2a
    b    Total acreage restricted by conservation easements . . . . . . . . . . . . . . . . . . . .                  2b
    c    Number of conservation easements on a certified historic structure included in (a) . . . . .                2c
    d    Number of conservation easements included in (c) acquired after 7/25/06, and not on a historic              2d
         structure listed in the National Register . . .
3         Number of conservation easements modified, transferred, released, e tinguished, or terminated by the organization during the
          tax year

4         Number of states where property subject to conservation easement is located

5         Does the organization have a written policy regarding the periodic monitoring, inspection, handling of violations, and
          enforcement of the conservation easements it holds? . . . . . . . . . . . .
                                                                                                                                             Yes         No

6         Staff and volunteer hours devoted to monitoring, inspecting, handling of violations, and enforcing conservation easements during the year


7         Amount of expenses incurred in monitoring, inspecting, handling of violations, and enforcing conservation easements during the year
            $

8         Does each conservation easement reported on line 2(d) above satisfy the requirements of section 170(h)(4)(B)(i)
          and section 170(h)(4)(B)(ii)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                             Yes         No
9         In Part XIII, describe how the organization reports conservation easements in its revenue and expense statement, and
          balance sheet, and include, if applicable, the text of the footnote to the organization’s financial statements that describes
          the organization’s accounting for conservation easements.
 Part III        Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets.
                 Complete if the organi ation answered "Yes" on Form 990, Part IV, line 8.
1a        If the organization elected, as permitted under FASB ASC 958, not to report in its revenue statement and balance sheet works of art,
          historical treasures, or other similar assets held for public e hibition, education, or research in furtherance of public service, provide, in
          Part XIII, the text of the footnote to its financial statements that describes these items.
    b     If the organization elected, as permitted under FASB ASC 958, to report in its revenue statement and balance sheet works of art,
          historical treasures, or other similar assets held for public e hibition, education, or research in furtherance of public service, provide the
          following amounts relating to these items:
        (i) Revenue included on Form 990, Part VIII, line 1 . . . . . . . . . . . . . . . . . . . . . . . . .              $

    (ii) Assets included in Form 990, Part X . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  $

2         If the organization received or held works of art, historical treasures, or other similar assets for financial gain, provide the
          following amounts required to be reported under FASB ASC 958 relating to these items:
         Revenue included on Form 990, Part VIII, line 1 . . . . . . . . . . . . . . . . . . . . . . . . . .
    a
         Case   3:19-cv-00736 Document 472-6 Filed 01/23/24 Page 17 of $24 PageID #: 40281
    b     Assets included in Form 990, Part X . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  $
For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                     Cat. No. 52283D       Schedule D (Form 990) 2021
Schedule D (Form 990) 2021                                                                                                                                                                                                                                               Page 2
Part III          Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets (continued)
3       Using the organization’s acquisition, accession, and other records, check any of the following that are a significant use of its collection
        items (check all that apply):
    a                                                                          d
              Public e hibition                                                           Loan or e change programs
    b                                                                                                                                               e
              Scholarly research                                                                                                                                        Other

    c
              Preservation for future generations
4       Provide a description of the organization’s collections and explain how they further the organization’s exempt purpose in
        Part XIII.
5       During the year, did the organization solicit or receive donations of art, historical treasures or other similar
        assets to be sold to raise funds rather than to be maintained as part of the organization’s collection?. . .
                                                                                                                                                                                                                                                  Yes             No
 Part IV          Escrow and Custodial Arrangements.
                  Complete if the organization answered "Yes" on Form 990, Part IV, line 9, or reported an amount on Form 990, Part X,
                  line 21.
1a      Is the organization an agent, trustee, custodian or other intermediary for contributions or other assets not
        included on Form 990, Part X? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                                                                                  Yes             No


    b   If "Yes," e plain the arrangement in Part XIII and complete the following table:                                                                                                                                                  Amount
    c   Beginning balance . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                                 1c
    d   Additions during the year . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                           1d
    e   Distributions during the year . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                           1e
    f   Ending balance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                              1f

2a      Did the organization include an amount on Form 990, Part X, line 21, for escrow or custodial account liability? . . .                                                                                                                     Yes             No
    b   If "Yes," explain the arrangement in Part XIII. Check here if the explanation has been provided in Part XIII . . . .
 Part V           Endowment Funds.
                  Complete if the organi ation answered "Yes" on Form 990, Part IV, line 10.
                                                                                                        (a) Current year                        (b) Prior year                          (c) Two years back                      (d) Three years back    (e) Four years back
1a Beginning of year balance                                .       .       .       .
    b Contributions         .       .           .
    c Net investment earnings, gains, and losses
    d Grants or scholarships                        .       .       .
    e Other expenditures for facilities
      and programs .     .    .
    f Administrative expenses                           .       .       .       .
    g End of year balance                   .           .       .       .       .       .

2       Provide the estimated percentage of the current year end balance (line 1g, column (a)) held as:
    a   Board designated or quasi-endowment

    b   Permanent endowment

    c   Term endowment
        The percentages on lines 2a, 2b, and 2c should equal 100%.
3a      Are there endowment funds not in the possession of the organization that are held and administered for the
        organization by:                                                                                                                                                                                                                                      Yes       No
        (i) Unrelated organizations                             .       .       .       .       .       .       .       .       .       .       .       .       .       .           .           .           .                                      3a(i)
        (ii) Related organizations                          .       .       .       .       .       .       .       .       .       .       .       .       .       .           .           .           .                                          3a(ii)
    b   If "Yes" on 3a(ii), are the related organizations listed as required on Schedule R?                                                                                 .           .           .           .       .   .    .   .    .            3b
4       Describe in Part XIII the intended uses of the organization's endowment funds.
 Part VI          Land, Buildings, and Equipment.
                  Complete if the organi ation answered "Yes" on Form 990, Part IV, line 11a. See Form 990, Part X, line 10.
        Description of property                                         (a) Cost or other basis                             (b) Cost or other basis (other)                                 (c) Accumulated depreciation                               (d) Book value
                                                                             (investment)


1a Land       .     .       .       .           .
    b Buildings     .       .       .           .
    c Leasehold improvements
    d Equipment         .       .       .           .

        Case. 3:19-cv-00736
    e Other    .  . .  .                                                    Document 472-6                                              Filed 01/23/24
                                                                                                                                                  59,247                                                Page 18 of 39,827
                                                                                                                                                                                                                   24 PageID #: 40282
                                                                                                                                                                                                                                    19,420

Total. Add lines 1a through 1e. (Column (d) must equal Form 990, Part X, column (B), line 10(c).) .                                                                                                                 .                                                   19,420

                                                                                                                                                                                                                                         Schedule D (Form 990) 2021
Schedule D (Form 990) 2021                                                                                                                                      Page 3
Part VII       Investments - Other Securities.
               Complete if the organization answered "Yes" on Form 990, Part IV, line 11b.See Form 990, Part X, line 12.
                          (a) Description of security or category                                   (b) Book                   (c) Method of valuation:
                               (including name of security)                                           value                Cost or end of year market value
(1) Financial derivatives                              .    .   .      .   .   .    .   .   .
(2) Closely held equity interests                           .   .      .   .   .    .   .   .
(3)Other

(A)

(B)

(C)

(D)

(E)

(F)

(G)

(H)

Total. (Column (b) must equal Form 990, Part X, col. (B) line 12.)

Part VIII       Investments - Program Related.
                Complete if the organi ation answered 'Yes' on Form 990, Part IV, line 11c. See Form 990, Part X, line 13.
                                   (a) Description of investment                                              (b) Book value           (c) Method of valuation:
                                                                                                                                   Cost or end-of-year market value
(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

Total. (Column (b) must equal Form 990, Part X, col.(B) line 13.)

 Part IX       Other Assets.
               Complete if the organi ation answered 'Yes' on Form 990, Part IV, line 11d. See Form 990, Part X, line 15.
                                                                 (a) Description                                                                    (b) Book value
(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

Total. (Column (b) must equal Form 990, Part X, col.(B) line 15.)                           .   .     .   .    .   .   .   .   .   .   .
  Part X       Other Liabilities.
               Complete if the organization answered 'Yes' on Form 990, Part IV, line 11e or 11f.See Form 990, Part X, line 25.
1.                                                                   (a) Description of liability                                                      (b) Book value
(1) Federal income taxes




Total. (Column (b) must equal Form 990, Part X, col.(B) line 25.)

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2. Liability for uncertain ta positions. In Part XIII, provide the te t of the footnote to the organization's financial statements that reports the
organization's liability for uncertain tax positions under FIN 48 (ASC 740). Check here if the text of the footnote has been provided in Part XIII
                                                                                                                                           Schedule D (Form 990) 2021
Schedule D (Form 990) 2021                                                                                                                                                                                                                                                                                           Page 4
 Part XI        Reconciliation of Revenue per Audited Financial Statements With Revenue per
                Return.
                Complete if the organi ation answered 'Yes' on Form 990, Part IV, line 12a.
1       Total revenue, gains, and other support per audited financial statements                                                                                                 .           .               .               .               .               .               .                   1
2       Amounts included on line 1 but not on Form 990, Part VIII, line 12:
    a   Net unrealized gains (losses) on investments                                         .           .           .           .                                                                   2a
    b   Donated services and use of facilities                       .           .           .           .           .           .           .           .           .                               2b
    c   Recoveries of prior year grants             .        .           .           .           .           .           .           .           .           .           .                           2c
    d   Other (Describe in Part XIII.)          .       .        .           .           .           .           .           .           .           .           .                                   2d
    e   Add lines 2a through 2d .               .       .        .           .           .           .           .           .           .           .           .           .           .               .               .               .               .               .               .   .   2e
3       Subtract line 2e from line 1 .              .        .           .           .           .           .           .           .           .           .           .           .               .               .               .               .               .                           3
4       Amounts included on Form 990, Part VIII, line 12, but not on line 1:
    a   Investment e penses not included on Form 990, Part VIII, line 7b                                                                                 .                                           4a
    b   Other (Describe in Part XIII.)          .       .        .           .           .           .           .           .           .           .           .                                   4b
    c   Add lines 4a and 4b .           .       .       .        .           .           .           .           .           .           .           .           .           .       .               .               .               .               .               .                           4c
5       Total revenue. Add lines 3 and 4c. (This must equal Form 990, Part I, line 12.)                                                                                                          .               .               .               .               .               .               5
 Part XII       Reconciliation of Expenses per Audited Financial Statements With Expenses per Return.
                Complete if the organi ation answered 'Yes' on Form 990, Part IV, line 12a.
1       Total expenses and losses per audited financial statements                                                                   .           .           .           .           .               .               .               .               .               .               .           1
2       Amounts included on line 1 but not on Form 990, Part IX, line 25:
    a   Donated services and use of facilities                       .           .           .           .           .           .           .           .           .                               2a
    b   Prior year adjustments      .       .       .        .           .           .           .           .           .           .           .           .                                       2b
    c   Other losses   .   .    .       .       .       .        .           .           .           .           .           .           .           .           .           .                       2c
    d   Other (Describe in Part XIII.)          .       .        .           .           .           .           .           .           .           .           .                                   2d
    e   Add lines 2a through 2d .               .       .        .           .           .           .           .           .           .           .           .           .           .               .               .               .               .               .               .       2e
3       Subtract line 2e from line 1 .              .        .           .           .           .           .           .           .           .           .           .           .               .               .               .               .               .               .           3
4       Amounts included on Form 990, Part IX, line 25, but not on line 1:
    a   Investment e penses not included on Form 990, Part VIII, line 7b                                                                                 .           .                               4a
    b   Other (Describe in Part XIII.)          .       .        .           .           .           .           .           .           .           .           .                                   4b
    c   Add lines 4a and 4b .           .       .       .        .           .           .           .           .           .           .           .           .           .       .               .               .               .               .               .               .           4c
5       Total expenses. Add lines 3 and 4c. (This must equal Form 990, Part I, line 18.)                                                                                                             .               .               .               .               .               .           5
 Part XIII         Supplemental Information
 Provide the descriptions required for Part II, lines 3, 5, and 9; Part III, lines 1a and 4; Part lV, lines 1b and 2b; Part V, line 4; Part X, line 2; Part XI, lines
 2d and 4b; and Part XII, lines 2d and 4b. Also complete this part to provide any additional information.
        Case 3:19-cv-00736                                  Document 472-6                                                                       Filed 01/23/24                                                                              Page 20 of 24 PageID #: 40284
             Return Reference                                                                                                                E planation

                                                                                                                                                                                                                                                                                                 Schedule D (Form 990) 2021
efile GRAPHIC print                 Submission Date - 2022-11-14                                                                                                                                                DLN: 93493318170982

Schedule J                                             Compensation Information                                                                                                                                             OMB No. 1545-0047
(Form 990)
                                          For certain Officers, Directors, Trustees, Key Employees, and Highest
                                                                 Compensated Employees
                                         Complete if the organization answered "Yes" on Form 990, Part IV, line 23.
                                                                     Attach to Form 990.
                                                                                                                                                                                                                            2021
Department of the                         Go to www.irs.gov/Form990 for instructions and the latest information.                                                                                                            Open to Public
Treasury                                                                                                                                                                                                                     Inspection
Internal Revenue
Service
  Name of the organization                                                                                                                                                  Employer identification number
 DIGITAL MEDIA ASSOCIATION
                                                                                                                                                                            54 1920927
  Part I        Questions Regarding Compensation
                                                                                                                                                                                                                                    Yes   No
1a      Check the appropiate bo (es) if the organization provided any of the following to or for a person listed on Form
        990, Part VII, Section A, line 1a. Complete Part III to provide any relevant information regarding these items.

              First class or charter travel                                         Housing allowance or residence for personal use
              Travel for companions                                                 Payments for business use of personal residence
              Ta idemnification and gross up payments                               Health or social club dues or initiation fees
              Discretionary spending account                                        Personal services (e.g., maid, chauffeur, chef)

    b   If any of the bo es on Line 1a are checked, did the organization follow a written policy regarding payment or reimbursement
        or provision of all of the expenses described above? If "No," complete Part III to explain . .   .   . .                                                                                                               1b
2       Did the organization require substantiation prior to reimbursing or allowing e penses incurred by all
        directors, trustees, officers, including the CEO/Executive Director, regarding the items checked on Line 1a? .                                                                                  .       .       .      2


3       Indicate which, if any, of the following the filing organization used to establish the compensation of the
        organization's CEO/Executive Director. Check all that apply. Do not check any boxes for methods
        used by a related organization to establish compensation of the CEO/E ecutive Director, but e plain in Part III.

              Compensation committee                                                Written employment contract
              Independent compensation consultant                                   Compensation survey or study
              Form 990 of other organizations                                       Approval by the board or compensation committee

4       During the year, did any person listed on Form 990, Part VII, Section A, line 1a, with respect to the filing organization or a
        related organization:

    a   Receive a severance payment or change of control payment? .                 .       .       .       .       .       .       .           .           .           .           .           .                              4a         No
    b   Participate in, or receive payment from, a supplemental nonqualified retirement plan? .                                         .           .           .           .           .           .       .       .          4b         No
    c   Participate in, or receive payment from, an equity based compensation arrangement? .                                            .           .           .           .           .           .       .       .          4c         No
        If "Yes" to any of lines 4a c, list the persons and provide the applicable amounts for each item in Part III.


        Only 501(c)(3), 501(c)(4), and 501(c)(29) organizations must complete lines 5-9.
5       For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
        compensation contingent on the revenues of:

    a   The organization? .     .    .     .   .   .   .    .   .   .   .   .   .       .       .       .       .       .       .           .                                                                                  5a
    b   Any related organization? .     .   .    .    .   .     .   .   .   .   .       .       .       .       .       .       .           .           .           .           .           .           .                      5b
        If "Yes," on line 5a or 5b, describe in Part III.

6       For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
        compensation contingent on the net earnings of:

    a   The organization? .     .    .     .   .   .   .    .   .   .   .   .   .       .       .       .       .       .                                                                                                      6a
    b   Any related organization? .        .   .   .   .    .   .   .   .   .   .       .       .       .       .       .       .           .           .           .           .           .                                  6b
        If "Yes," on line 6a or 6b, describe in Part III.
7       For persons listed on Form 990, Part VII, Section A, line 1a, did the organization provide any nonfi ed
        payments not described in lines 5 and 6? If "Yes," describe in Part III .  .   .   .   .   .  .   .   .                                                                 .           .           .                      7
8       Were any amounts reported on Form 990, Part VII, paid or accured pursuant to a contract that was
        subject to the initial contract exception described in Regulations section 53.4958-4(a)(3)? If "Yes," describe
        in Part III . .   .    .   .   .   .   .  .   .   .   .  .   .   .   .   .   .  .   .   .   .    .    .  .   .
                                                                                                                                                                                                                               8
9       Case      3:19-cv-00736
        If "Yes" on                           Document
                    line 8, did the organization also follow the472-6        Filed 01/23/24
                                                                 rebuttable presumption              Pagein 21
                                                                                        procedure described    of 24 section
                                                                                                            Regulations PageID #: 40285
        53.4958 6(c)? .     .   .    .     .   .   .   .    .   .   .   .   .   .       .       .       .       .       .       .           .           .           .           .           .                                  9
For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                                      Cat. No. 50053T                                                     Schedule J (Form 990) 2021
Schedule J (Form 990) 2021                                                                                                                                                                                 Page 2
 Part II      Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees. Use duplicate copies if additional space is needed.
For each individual whose compensation must be reported on Schedule J, report compensation from the organization on row (i) and from related organizations, described in the
instructions, on row (ii). Do not list any individuals that are not listed on Form 990, Part VII.
Note. The sum of columns (B)(i)-(iii) for each listed individual must equal the total amount of Form 990, Part VII, Section A, line 1a, applicable column (D) and (E) amounts for that individual.
                             (A) Name and Title                                       (B) Breakdown of W 2, 1099 MISC compensation,           (C) Retirement    (D) Nonta able     (E) Total of            (F)
                                                                                                    and/or 1099-NEC                             and other          benefits         columns         Compensation in
                                                                                        (i) Base               (ii)           (iii) Other        deferred                           (B)(i) (D)         column (B)
                                                                                      compensation           Bonus &          reportable      compensation                                            reported as
                                                                                                            incentive       compensation                                                            deferred on prior
                                                                                                          compensation                                                                                  Form 990
1 GARRETT LEVIN                                                                          400,060             75,000               0                 0                 0              475,060               0
PRESIDENT AND CEO
                                                                                (i)
                                                                                        -------------       -------------     -------------     -------------     -------------     -------------      -------------
                                                                                            0                   0                 0                 0                 0                 0                  0
                                                                               (ii)
2 SALLY ROSE LARSON                                                             (i)      207,593             30,000               0                 0                 0              237,593               0
VICE PRESIDENT                                                                          -------------       -------------     -------------     -------------     -------------     -------------      -------------
                                                                                            0                   0                 0                 0                 0                 0                  0
                                                                               (ii)
3 KEVIN GOLDBERG                                                                         113,167                0                 0                 0                 0              113,167               0
FORMER VICE PRESIDENT, SEC                                                      (i)
                                                                                        -------------       -------------     -------------     -------------     -------------     -------------      -------------
                                                                                            0                   0                 0                 0                 0                 0                  0
                                                                               (ii)




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                                                                                                                                                                                  Schedule J (Form 990) 2021
Schedule J (Form 990) 2021                                                                                                                                                                                   Page 3
 Part III     Supplemental Information
Provide the information, explanation, or descriptions required for Part I, lines 1a, 1b, 3, 4a, 4b, 4c, 5a, 5b, 6a, 6b, 7, and 8, and for Part II. Also complete this part for any additional information.
                                   Case 3:19-cv-00736                   Document 472-6                  Filed 01/23/24              Page 23 of 24 PageID #: 40287
            Return Reference                                                                                               Explanation

                                                                                                                                                                                     Schedule J (Form 990) 2021
 efile GRAPHIC print         Submission Date - 2022-11-14                                                       DLN: 93493318170982
                                                                                                                      OMB No. 1545-0047
SCHEDULE O Supplemental Information to Form 990 or 990-EZ
(Form 990)
Department of the
                                 Complete to provide information for responses to specific questions on
                                     Form 990 or 990-EZ or to provide any additional information.
                                                      Attach to Form 990 or 990-EZ.
                                                                                                                      2021
                                                                                                                       Open to Public
Treasury                                 Go to www.irs.gov/Form990 for the latest information.                          Inspection
Internal Revenue
Name of the organization
Service                                                                                            Employer identification number
DIGITAL MEDIA ASSOCIATION
                                                                                                   XX-XXXXXXX

   Return                                                             Explanation
  Reference

 FORM 990, THE FORM 990 WAS EMAILED TO THE DIRECTOR FOR REVIEW OF THE DOCUMENT BEFORE THE RETURN WAS
 PART VI,   FILED.
 SECTION B,
 LINE 11B

 FORM 990, THE ORGANI ATION HAS REGULAR MEETINGS AT WHICH POINT THERE IS A SPECIFIC DISCUSSION TO
 PART VI,   DETERMINE IF ANY CONFLICT OF INTEREST EXISTS.
 SECTION B,
 LINE 12C

 FORM 990, THE ORGANIZATION'S BOARD REVIEWS EACH EMPLOYEE'S SALARY ON AN ANNUAL BASIS AND ADJUSTS
 PART VI,   ACCORDING TO WHAT IS DEEMED APPROPRIATE FOR EACH POSITION.
 SECTION B,
 LINE 15

 FORM 990, THE ORGANI ATION MAKES IT'S GOVERNING DOCUMENTS AND 990 AVAILABLE TO ANYONE WHOM
 PART VI,   REQUESTS TO SEE A COPY.
 SECTION C,
 LINE 19

 FORM 990, HR/PAYROLL SERVICE FEES 18,482. CONSULTANTS 433,165.
 PART IX,
 LINECase
      11G 3:19-cv-00736     Document 472-6 Filed 01/23/24                                    Page 24 of 24 PageID #: 40288
For Paperwork Reduction Act Notice, see the Instructions for Form 990 or   Cat. No. 51056K                      Schedule O (Form 990) 2021
990-EZ.
